Case 3:17-cv-00072-NKM-JCH Document 216 Filed 02/01/18 Page 1lof2 Pageid#: 1125

UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

 

Elizabeth Sines, et al.

Plaintiff

vs. Case No: 3:17CV00072 NKM

Jason Kessler, et al.

Defendant

AFFIDAVIT OF SERVICE

 

1, Tony Klein, a Private Process Server, being duly sworn, depose and say:

That | have been duly authorized to make service of the Summons and First Amended Complaint in the above entitled case.

That I am over the age of eighteen years and not a party to or otherwise interested in this action.

That on 01/23/2018 at 9:45 AM, I served Fraternal Order of the Alt-Knights c/o Kyle Sean Chapman with the Summons and First
Amended Complaint at Alameda County Superior Court, 1225 Fallon Street, Oakland, California 94612 by serving Kyle Sean
Chapman, authorized to accept.

Kyle Sean Chapman is described herein as:

Gender: Male Race/Skin: White Age: 40's Weight: 240 Height: 6'l1" Hair: Dark Brown Glasses: No

I do solemnly declare and affirm under penalty of perjury that I have read the foregoing information set forth herein is correct to
the best of my knowledge, information, and belief.

pss

Executed On!

 

 

 

Client Ref Number:N/A
Job #: 1539064

Capitol Process Services, Inc. | 1827 18th Street, NW, Washington, DC 20009 | (202) 667-0050
Case 3:17-cv-00072-NKM-JCH Document 216 Filed 02/01/18 Page 2of2 Pageid#: 1126

AO 440 (Rev. 06/12) (02/17 WD/VA) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

 

Western District of Virginia

Elizabeth Sines, Seth Wispelwey, Mariss Blair, Tyler Magill,
April Muniz, Hannah Pearce, Marcus Martin, Natalie

+ ROMEFO,-Chelsea_-Alvarado, andJohn-Doe—.—-—.
Plaintiff

. Vv. . Civil Action No.3:17-cv-0072 NFM
Jason Kessler, Richard Spencer, Christopher Cantwell, James

Alex Fields, Jr., Vanguard America, Andrew Anglin,
on eenrneenensee eM QOnDaSe-Holdings, LLC-et-al,—
Defendant

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
Fraternal Order of the Alt-Knights
c/o Kyle Sean Chapman
52 Lycett Circle
Daly City, CA 94015

A lawsuit has been filed against you.

_ Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 120 days for Social Security Cases filed pursuant to 42 USC 405(g) —- you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:

Robert T. Cahill, Esq., Cooley LLP

11951 Freedom Drive, 14th Floor

Reston, VA 20190-5656

Tel: (703) 456-8000 - Email: reahill@cooley.com
Co-Counsel for Plaintiffs

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

JULIA C. DUDLEY, CLERK OF COURT

+ ws’ Joyce C, Jones
‘ Deputy Clerk.
Date: January 18, 2018

 

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